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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-00202-RM

UNITED STATES OF AMERICA,

              Plaintiff,

v.

2.      JAMES ALBERT WITTE,

        Defendant.



    ORDER ON GOVERNMENT'S MOTION TO DISMISS COUNTS WITH PREJUDICE


        THIS MATTER comes before the Court upon the Government's motion to

dismiss with prejudice Counts 2 through 5 of the Superseding Indictment with respect to

Defendant James Albert Witte only. The Court having considered this motion, it is

hereby

        ORDERED that the Government’s Motion to Dismiss Counts With Prejudice

[Doc.      ] is GRANTED. It is further

        ORDERED that Counts 2 through 5 of the Superseding Indictment are dismissed

with prejudice as to Defendant James Albert Witte only.

        DATED this                  day of January, 2023.


                                         BY THE COURT:


                                          ____________________________________
                                         RAYMOND P. MOORE
                                         United States District Judge
                                         District of Colorado

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